        Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 1 of 21



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

MICHAEL PELTIER and                                 §
KELLY PELTIER                                       §
                                                    §
          Plaintiffs,                               §
                                                    §             CASE NO. 3:17-cv-00202
v.                                                  §
                                                    §
STGJ ENTERPRISES, LLC D/B/A SMI                     §
AGENCY, LERETA, LLC, and                            §
WRIGHT NATIONAL FLOOD                               §
INSURANCE,                                          §
                                                    §
          Defendants.                               §

                          DEFENDANT WRIGHT NATIONAL FLOOD
                        INSURANCE COMPANY’S MOTION TO DISMISS

          NOW INTO COURT, through undersigned counsel, comes Defendant, Wright National

Flood Insurance Company (“Wright National”), a Write-Your-Own (“WYO”) Program carrier

participating in the U.S. Government’s National Flood Insurance Program (“NFIP”) pursuant to

the National Flood Insurance Act of 1968, as amended, 1 appearing herein in its “fiduciary” 2

capacity as the “fiscal agent of the United States,” 3 and files this Motion to Dismiss the

Plaintiff’s Original Petition pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil

Procedure because the pleading fails to state a claim upon which relief can be granted. In

support of the instant Motion to Dismiss, Wright National respectfully represents as follows:




1
    42 U.S.C. § 4001 et seq.
2
    44 C.F.R. § 62.23(f).
3
    42 U.S.C. § 4071(a)(1); Gowland v. Aetna, 143 F.3d 951, 953 (5th Cir. 1998).


                                                    -1-
       Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 2 of 21



                                       I. Statement of Facts

        On or about May 22, 2017, Plaintiffs Michael Peltier and Kelly Peltier (“the Peltiers”)

filed a lawsuit styled “Michael Peltier and Kelly Peltier, Plaintiffs v. STGJ Enterprises, LLC

D/B/A SMI Agency, LERETA, LLC, and Wright National Flood Insurance, Defendants,” bearing

Docket No. CV-0078928 in the County Court at Law No. 3 of Galveston County, Texas.

        Wright National was served with the Citation and Plaintiff’s Original Petition on May 30,

2017. On June 23, 2017, with the consent of co-defendants STGJ Enterprises, LLC D/B/A SMI

Agency and LERETA, LLC, Wright National removed the state court action to this Court based

on federal question jurisdiction pursuant to 42 U.S.C. § 4072; 44 C.F.R. Pt. 61, App. A(1), Art.

IX; and 28 U.S.C. §§ 1331, 1337, 1441 and 1446. See Doc. 1 (Notice of Removal).

        As alleged, the Peltiers seek a recovery and/or reimbursement for past and future

premiums paid or incurred for a Standard Flood Insurance Policy (“SFIP”) issued by Wright

National in its capacity as a WYO Program carrier participating in the NFIP pursuant to the

National Flood Insurance Act of 1968.

        The Plaintiffs’ Original Petition (at ¶¶ 12-14) alleges in part as follows:

   •    “In early 2015, Plaintiffs, who had decided to move from their home in colder climes to

        Galveston, Texas, began researching the cost to purchase a home in that locale. When

        they located a suitable property (at 2705 Ave O, Galveston, TX 77550) they visited SMI

        in order to determine the full cost of ownership. The Peltiers discussed the need to insure

        a home the[y] were considering for purchase, their need to have that home insured and to

        maintain insurance to obtain a mortgage. Shortly thereafter, the Agency provided a price

        quote for homeowners, windstorm, and flood insurance.              However, SMI’s quote,



                                                 -2-
        Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 3 of 21



         apparently based on information provide[d] through Defendants LERETA and/or Wright,

         represented to the Peltiers that the property was located in a ‘preferred flood zone (which

         has a lower premium then [sic] other flood zones).’ The result was a quotation from SMI

         for a cost of $430.00 for the annual premium for that flood insurance policy.”

    •    “The Peltiers, acting in reliance on the price quotation and other representations of SMI

         and/or LERETA and/or Wright closed on that purchase transaction on or about May 31,

         2015, the same date the Peltiers purchased the flood policy from Wright, through SMI,

         again in reliance on those previously mentioned representations.”

    •    “In July, 2015, the Peltiers, due to actions undertaken by their mortgage company

         (apparently to verify the validity of the insurance coverage provided by the Peltiers as []

         required   by   their   security   agreement    with   that   mortgagor)   discovered   the

         misrepresentations in both the price quotation and the ability to be ‘grandfathered’ at a

         lower premium. The Peltiers were eventually informed that not only was the premium

         misquoted but that the misquote was due to an error by Defendants in describing the

         location of the property in a ‘preferred zone’ for flood insurance rate determination. The

         difference in the annual flood insurance premium to the Peltiers was and is roughly

         $3,500.00 greater than the price quoted.”

(Plaintiffs’ Original Petition, p. 3, ¶¶ 12-14).

         The Plaintiffs’ Original Petition purports to allege claims for “Deceptive Trade Practices”

and “Negligent Misrepresentation”. (see Plaintiffs’ Original Petition, pp. 4-5.)

         The First Count of Plaintiffs’ Original Petition, entitled “Deceptive Trade Practices”,

alleges that “Plaintiffs would show that Defendants engaged in certain false, misleading and



                                                   -3-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 4 of 21



deceptive acts, practices and/or omissions actionable under the Texas Deceptive Trade Practices

– Consumer Protection Act (Texas Business and Commerce Code, Chapter 17.41, et seq.), as

alleged herein below”; that “Defendants engaged in an ‘unconscionable action or course of

action’ to the detriment of Plaintiffs as that term is defined by Section 17.45(5) of the Texas

Business and Commerce Code, by taking advantage of the lack of knowledge, ability,

experience, or capacity of Plaintiffs to a grossly unfair degree”; that “Plaintiffs would show that

the acts of Defendant SMI violated the following subsections of § 17.46(b) of the Texas Business

and Commerce Code: (2) causing confusion or misunderstanding as to the source, sponsorship,

approval, or certification of goods and services; (5) representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection which the

person does not”; that “Plaintiffs would show that the acts, practices and/or omissions

complained of were the producing cause of Plaintiffs’ damages more fully described

hereinbelow”; and that “Plaintiffs have timely notified Defendants of such complaint pursuant to

Section 17.505(a) of the Texas Business and Commerce Code by letter dated February 22, 2016,

and would show compliance with all conditions precedent to the filing of this suit and recovery

of additional damages and attorney’s fees.” (Plaintiffs’ Original Petition, p. 4, ¶¶ 15-19).

       The     Second    Count     of   Plaintiffs’   Original    Petition,   entitled   “Negligent

Misrepresentation”, alleges that “Plaintiffs would show that Defendants supplied false

information in the course of their business, profession or employment, or in the course of a

transaction in which Defendants have a pecuniary interest, and that such information was

supplied by Defendants for the guidance of Plaintiffs in the transactions described hereinabove”;



                                                -4-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 5 of 21



that “Defendants failed to exercise reasonable care or competence in obtaining or communicating

such information”; that “Plaintiffs suffered pecuniary loss, described more fully hereinbelow,

which was proximately caused by Plaintiffs’ justifiable reliance on such information”; and that

“Plaintiffs therefore assert a cause of action for negligent misrepresentation against Defendants,

as provided by Federal Land Bank Association of Tyler v. Sloane, 825 S.W.2d 439 (Tex. 1991).”

(Plaintiffs’ Original Petition, p. 5, ¶¶ 20-21).

        Plaintiffs’ Original Petition (at ¶ 22) alleges the following economic and actual damages:

        (a)     Out-of-pocket expenses in the past, including but not limited to the cost of
                a flood insurance policy at the “non-preferred” rate versus the cost of the
                policy as represented.

        (b)     future expenses for the life of the loan which Plaintiffs will, in all
                reasonable probability, incur for the cost of a flood insurance policy at the
                ‘non-preferred’ rate versus the cost of the policy as represented.

(Plaintiffs’ Original Petition, p. 5, ¶ 22).

        The Prayer of the Plaintiffs’ Original Petition demands a judgment “for the economic and

actual damages requested hereinabove in an amount in excess of the minimum jurisdictional

limits of the Court, together with prejudgment and postjudgment interest at the maximum rate

allowed by law, attorney’s fees, [and] costs of court …” (Plaintiffs’ Original Petition, p. 6).

                                               II. Argument

    1. Standard Of Review Under Fed. R. Civ. P. 12(b)(6) and 9(b).

        A. Rule 12(b)(6). “The Fifth Circuit has recently held that the sufficiency of a plaintiff's

state-court petition for purposes of a removal and improper joinder analysis should be measured

under federal court pleading standards.” Lopez v. United Prop. & Cas. Ins. Co., 197 F.Supp.3d

944, 949 (S.D. Tex. 2016) (citing Int’l Energy Ventures Mgmt., L.L.C. v. United Energy Grp.,



                                                   -5-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 6 of 21



Ltd., 818 F.3d 193, 208 (5th Cir. 2016)). “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

face.” Edionwe v. Bailey, -- F.3d --, 2017 WL 2623730, at *2 (5th Cir., June 19, 2017) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted)). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. (quoting

Ashcroft v. Iqbal). “A pleading that offers ‘labels and conclusions' or ‘a formulaic recitation of

the elements of a cause of action will not do.’ Nor does a complaint suffice if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Id. (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555, 557 (2007)).

       B. Rule 9(b). In this case, Plaintiff’s Original Petition purports to allege claims under

the Texas Deceptive Trade Practices Act. “In federal court, claims under the Texas Deceptive

Trade Practices Act are subject to the heightened pleading requirements of Federal Rule of Civil

Procedure 9(b).” Lopez v. United Prop. & Cas. Ins. Co., 197 F.Supp.3d 944, 951–52 (S.D. Tex.

2016) (citing Omni USA, Inc. v. Parker-Hannifin Corp., 798 F.Supp.2d 831, 836 (S.D. Tex.

2011) and Berry v. Indianapolis Life Ins. Co., 608 F.Supp.2d 785, 800 (N.D. Tex. 2009)

(applying Rule 9(b) to claims under the DTPA and Chapter 541 of the Texas Insurance Code)).

       Plaintiff’s Original Petition also purports to allege a claim                    for negligent

misrepresentation, which likewise is subject to the heightened pleading requirements of Rule

9(b). See Peacock v. AARP, Inc., 181 F.Supp.3d 430, 435 (S.D. Tex. 2016) (“Claims alleging

violations of the Texas Insurance Code and the DTPA and those asserting fraud, fraudulent

inducement, fraudulent concealment, and negligent misrepresentation are subject to the



                                                  -6-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 7 of 21



requirements of Rule 9(b).” (citation omitted)); Sec. & Exch. Comm’n v. Mapp, -- F.Supp.3d --,

2017 WL 823559, at *5 (E.D. Tex. Mar. 2, 2017); Nelson v. Ocwen Loan Servicing, LLC, No.

CV H-16-778, 2016 WL 7324284, at *6 (S.D. Tex. Nov. 7, 2016), report and recommendation

adopted, No. CV H-16-778, 2016 WL 7242735 (S.D. Tex. Dec. 15, 2016).

       Rule 9(b) requires a party to “state with particularity the circumstances constituting

fraud.” Fed. R. Civ. P. 9(b). “At a minimum, Rule 9(b) requires allegations of the particulars of

time, place, and contents of the false representations, as well as the identity of the person making

the misrepresentation and what he obtained thereby.” Lopez, 197 F.Supp.3d at 952 (citing

Wallace v. Tesoro Corp., 796 F.3d 468, 480 (5th Cir. 2015)). “In other words, a plaintiff must

plead the ‘who, what, when, where, and how’ of the fraud.”            Id. (citing Williams v. Bell

Helicopter Textron, Inc., 417 F.3d 450, 453 (5th Cir. 2005)); see also Peacock v. AARP, Inc.,

181 F. Supp. 3d 430, 435 (S.D. Tex. 2016) (“A plaintiff pleading fraud must ‘specify the

statements contended to be fraudulent, identify the speaker, state when and where the statements

were made, and explain why the statements were fraudulent.’”(citation omitted)). 4 “Courts are

to read Rule 9(b)'s heightened pleading requirement in conjunction with Rule 8(a)'s insistence on

simple, concise, and direct allegations.” Peacock, 181 F.Supp.3d at 435 (citing Williams v.

WMX Techs., Inc., 112 F.3d 175, 178 (5th Cir. 1997); Griggs v. State Farm Lloyds, 181 F.3d

694, 701 (5th Cir. 1999)). “Failure to comply with Rule 9(b)'s requirements authorizes the Court

to dismiss the pleadings as it would for failure to state a claim under Rule 12(b)(6).” Spring St.

Apts Waco, No. W-16-CA-00315-JCM, 2017 WL 1289036, at *11 (W.D. Tex. Apr. 6, 2017)


4
 “The goals of Rule 9(b) are to ‘provide[ ] defendants with fair notice of the plaintiffs' claims,
protect[ ] defendants from harm to their reputation and goodwill, reduce[ ] the number of strike
suits, and prevent[ ] plaintiffs from filing baseless claims.’” Peacock v. AARP, Inc., 181 F. Supp.
3d 430, 435 (S.D. Tex. 2016) (citing U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th
Cir. 2009)).
                                                  -7-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 8 of 21



(citing United States ex rel. Williams v. McKesson Corp., No. 3:12–CV–0371–B, 2014 WL

3353247, at *3 (N.D. Tex. July 9, 2014); Lovelace v. Software Spectrum, Inc., 78 F.3d 1015,

1017 (5th Cir. 1996)).

   2. Plaintiffs’ Original Petition Fails To State An Actionable Claim Against Wright
      National Flood Insurance Company For Deceptive Trade Practices.

       Plaintiffs’ Original Petition should be dismissed because it fails to state an actionable

claim against Wright National under the Texas Deceptive Trade Practices Act, and likewise fails

to satisfy Rule 9(b)’s heightened pleading requirements.

       “To maintain a cause of action under the Texas DTPA, [the plaintiff] must establish that

(1) it is a consumer under the DTPA with respect to its claim against [the defendant]; (2) [the

defendant] committed a false, misleading, or deceptive act under § 17.46(b) of the DTPA,

breached an express or implied warranty, or engaged in an unconscionable action or course of

action; and (3) these acts were the producing cause of [the plaintiff's] actual damages.” Brittan

Commc’ns Int’l Corp. v. Sw. Bell Tel. Co., 313 F.3d 899, 907 (5th Cir. 2002) (citing Brown v.

Bank of Galveston, N.A., 963 S.W.2d 511, 513 (Tex. 1998)); see also Kane v. Yancey, No. CV

H-15-1861, 2016 WL 922243, at *4 (S.D. Tex. Feb. 16, 2016), report and recommendation

adopted, No. 4:15-CV-1861, 2016 WL 1029557 (S.D. Tex. Mar. 9, 2016) (“just as a fraud claim

requires allegations of some injury and/or damages, a claim under Texas Deceptive Trade

Practices Act requires allegations that a false, misleading or deceptive act was a producing cause

of the plaintiff s damages.” (citing Doe v. Boys Clubs of Greater Dallas, Inc., 907 S.W.2d 472,

478 (Tex. 1995) (“The elements of these DTPA actions are: (1) the plaintiff is a consumer, (2)

the defendant engaged in false, misleading, or deceptive acts, and (3) these acts constituted a

producing cause of the consumer's damages.”))).


                                               -8-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 9 of 21



       “Section 17.46(b) of the DTPA makes unlawful false, misleading, or deceptive acts or

practices in the conduct of any trade or commerce.” McPeters v. LexisNexis, 910 F.Supp.2d 981,

987 (S.D. Tex. 2012), on reconsideration, 11 F.Supp.3d 789 (S.D. Tex. 2014). “Detrimental

reliance is an essential element for proving false, misleading or deceptive acts under the DTPA.”

Id. (citing Tex. Bus. & Com. Code § 17.50(a)(1)(B)).

       As alleged, Plaintiffs’ Original Petition falls far short of alleging a plausible claim against

Wright National for violating the Texas DTPA. Plaintiffs allege that STGJ Enterprises LLC

d/b/a SMI Agency provided them with “a price quote for homeowners, windstorm, and flood

insurance.” (Plaintiffs’ Original Petition, ¶ 12). Plaintiffs further allege that SMI provided “a

quotation … for a cost of $430.00 for the annual premium for [the] flood insurance policy.” (Id.).

Plaintiffs allege equivocally that “SMI’s quote” was “apparently based on information

provide[d] through LERETA and/or Wright[.]” (Id.). Plaintiffs further allege in a vague, scatter-

shot fashion that “acting in reliance on the price quotation and other representations of SMI

and/or LERETA and/or Wright” they closed on the purchase of their home on May 31, 2015 and

“purchased the flood policy from Wright.” (Id., ¶ 13). Plaintiffs allege that the actual premium

for the flood policy was “roughly $3,500.00 greater than the price quoted” by SMI based on an

erroneous designation of “the location of the property in a ‘preferred zone’ for flood insurance

determination.” (Id.). Absent from the Plaintiffs’ Original Petition are any factual allegations

plausibly demonstrating that Wright National engaged in any false, misleading, or deceptive acts,

or that these acts constituted a producing cause of plaintiffs’ alleged damages.

       Indeed, as alleged Wright National’s only involvement in this case is that it issued the

Peltiers a SFIP in its capacity as a WYO Program carrier pursuant to the NFIP. Pursuant to



                                                 -9-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 10 of 21



Congressional authorization found at 42 U.S.C. § 4071(a)(1), FEMA uses WYO companies like

Wright National to aid it in its statutory duty to administer the NFIP. See also 42 U.S.C. §

4081(a) (permitting FEMA’s Director to enter into arrangements with private insurance

companies in order to make use of their “facilities and services”); 44 C.F.R. § 62.23(a)-(d)

(establishing the WYO program to permit private insurers to sell and administer Standard Flood

Insurance Policies). Wright National, as a WYO Program carrier, was authorized to issue the

SFIP—which is a federal regulation found at 44 C.F.R. Pt. 61, App. A(1)—on behalf of the

federal government pursuant to the “Arrangement” between itself and FEMA, set forth at 44

C.F.R. Pt. 62, App. A (2015). 5 These forms of the flood policy are incorporated into the Code of

Federal Regulations at 44 C.F.R. § 61.13(a). “[T]he exact terms and conditions of NFIP policies

and eligibility for federal flood insurance are dictated by federal law.” Spong v. Fid. Nat. Prop.

& Cas. Ins. Co., 787 F.3d 296, 299 (5th Cir. 2015). Wright National cannot waive or alter or

amend any of the provisions of the SFIP. See 44 C.F.R. § 61.13(d); 44 C.F.R. Pt. 61, App. A(1),

Art. VII(D). And at all pertinent times, Wright National’s role as a WYO Program carrier (and

as set forth in its Arrangement with FEMA) was to market, sell, administer, and handle claims

under SFIPs that it was authorized to issue on behalf of the federal government in its “fiduciary”

capacity as “fiscal agent” of the United States. See 44 C.F.R. § 62.23(f); 42 U.S.C. § 4071(a)(1).

Plaintiffs have not plausibly alleged that Wright National did anything other than issue a SFIP


5
 At all pertinent times, including the date the subject SFIP was issued by Wright National in its
Capacity as a Write Your Own (WYO) company under the provisions of the NFIA, Wright
National issued SFIP policies under its own name and adjusted and paid claims under the SFIP
pursuant to a Financial Assistance/Subsidy Arrangement (“the Arrangement”) with FEMA.
Each Arrangement entered into by a WYO company was in the form and substance of the
standard Arrangement, a copy of which was in Title 44 of the Code of Federal Regulations
(CFR) Part 62, Appendix A. See 44 CFR 62.23(a). Effective December 23, 2016, FEMA issued
a Final Rule to remove the Arrangement from the appendices of the NFIP regulations. See
Federal Register, Vol. 81, No. 226 (Nov. 23, 2016).
                                                -10-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 11 of 21



and charge a premium for the SFIP based on the information they supplied in their application, in

accordance with the NFIP and its implementing regulations. No actionable DTPA claim has

been alleged against Wright National. 6

       The terms and conditions of the SFIP are codified in the Code of Federal Regulations and

publicly available. See 44 C.F.R. Pt. 61, App. A(1). As a matter of law, Plaintiffs are presumed

to have actual or constructive knowledge of the SFIP terms. See Heckler v. Cmty. Health Servs.,

467 U.S. 51, 63 (1984) (“those who deal with the Government are expected to know the law and

may not rely on the conduct of the conduct of government agents contrary to the law”); Lobeck v.

Licatino, -- Fed. Appx. --, 2017 WL 923387, at *1 (5th Cir. Mar. 7, 2017) (holding that insured

under SFIPs could not have reasonably relied on alleged misrepresentations by WYO Program

Carriers that her property was insurable, because plaintiff was “insured by the federal

government through the NFIP”, the flood insurers therefore “were acting as government agents”,

and plaintiff “was charged with the constructive knowledge that her property was located” in the

Coastal Barrier Resources System, thereby rendering it ineligible for federally funded flood

insurance).

       The SFIP Agreement provides as follows:

       The Federal Emergency Management Agency (FEMA) provides flood insurance
       under the terms of the National Flood Insurance Act of 1968 and its Amendments,
       and Title 44 of the Code of Federal Regulations.




6
  All SFIPs, including the Peltiers' policy, contain the following provision: “This policy and all
disputes arising from the handling of any claim under the policy are governed exclusively by the
flood insurance regulations issued by FEMA, the National Flood Insurance Act of 1968, as
amended (42 U.S.C. 4001, et seq.), and Federal common law.” 44 C.F.R. pt. 61, app. A(1), art.
IX. Thus, insofar as the Plaintiffs’ claims relate to the SFIP issued by Wright National, they are
governed exclusively by the NFIA, the flood insurance regulations issued by FEMA, and federal
common law, rather than state law.
                                                -11-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 12 of 21



       We will pay you for direct physical loss by or from flood to your insured property
       if you:

       1. Have paid the correct premium;
       2. Comply with all terms and conditions of this policy; and
       3. Have furnished accurate information and statements.

       We have the right to review the information you give us at any time and to revise
       your policy based on our review.

44 C.F.R. Pt. 61, App. A(1), art. I (Agreement).         The SFIP includes the Plaintiffs’ flood

insurance Application. 44 C.F.R. Pt. 61, App. A(1), art. II(B)(21) (Definitions). The SFIP

provides in pertinent part:

       3. Application. The statement made and signed by you or your agent in applying
       for this policy. The application gives information we use to determine the
       eligibility of the risk, the kind of policy to be issued, and the correct premium
       payment. The application is part of this flood insurance policy. For us to issue you
       a policy, the correct premium payment must accompany the application.

44 C.F.R. § Pt. 61, App. A(1), art. II(B)(3) (Definitions). Thus, by its express terms, the SFIP

placed the onus on the Plaintiffs (not Wright National) to furnish accurate information and

statements about the property to be used to determine the eligibility of the risk, the kind of policy

to be issued, and the correct premium payment.

       As noted above, “[d]etrimental reliance is an essential element for proving false,

misleading or deceptive acts under the DTPA.” McPeters, 910 F.Supp.2d at 987. However, as in

Spong, supra, demonstrating “detrimental reliance is problematic” in this case. 787 F.3d at 311.

Plaintiffs have failed to identify or allege any false, misleading or deceptive acts by Wright

National, nor have they plausibly alleged detrimental reliance on any false, misleading or

deceptive acts by Wright National.       At all pertinent times, Wright National acted as “an

intermediary for the Government.” Spong, 787 F.3d at 308. “The [Plaintiffs] applied for a flood

insurance policy that was part of a federal program, with the understanding that covered claims

                                                -12-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 13 of 21



would be paid with federal funds.” Id. “[I]n the federal flood insurance scheme,” Wright

National was merely “a conduit.” Id. at 310. FEMA uses Flood Insurance Rate Maps (FIRM)

and other publicly available information (including information contained in FEMA’s Flood

Insurance Manual) to determine flood insurance eligibility, zoning and rating. Plaintiffs could

have contacted FEMA to obtain a determination of whether the subject property was in a

“preferred flood zone”, and could have consulted the maps publicly available. See Spong, 787

F.3d at 311 (“The Spongs could have contacted FEMA or the Fish and Wildlife Service to obtain

a determination of whether their property was in the CBRS. They could have consulted the maps

publicly available.”). It was incumbent on the Peltiers—not Wright National—to determine

whether the property was located in a “preferred flood zone” and how the property’s location

would affect rating.

         In Spong, the plaintiffs brought a Texas state court action against a flood insurer

(Fidelity) which participated in the National Flood Insurance Program (NFIP), alleging inter alia

that Fidelity had made negligent misrepresentations regarding a flood insurance policy it sold

them. Id. at 298. At issue was whether their property was located in the John H. Chafee Coastal

Barrier Resources System (CBRS). Id. at 299. If it was, then the NFIP prohibited Fidelity from

issuing a flood insurance policy for the property. Id. Fidelity (acting in its capacity as a WYO

Program Carrier under the NFIP) issued a SFIP insuring the Spongs’ property. Id. at 298-99.

Years later, after Hurricane Ike destroyed their property, it was determined that the property was

located in the CBRS. Id. Accordingly, pursuant to federal regulations and the terms of the SFIP,

it was determined that the flood insurance policy was void, and Fidelity denied the Spongs’

claim.    Id. at 301-02.   The Spongs filed multiple Texas state law claims against Fidelity



                                              -13-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 14 of 21



(negligence, negligent misrepresentations, Texas Insurance Code violations, Deceptive Trade

Practices–Consumer Protection Act violations, gross negligence, fraud, fraud by non-disclosure,

fraudulent inducement, and promissory estoppel) after Fidelity advised them that the SFIP was

void from its inception because the property was ineligible for flood insurance under the NFIP.

Id. at 307. However, the Fifth Circuit determined that these state law claims could not succeed

in light of the U.S. Supreme Court’s decisions in Federal Crop Insurance Corp. v. Merrill, 332

U.S. 380 (1947), and Heckler, 467 U.S. 51. The Fifth Circuit explained:

       In the present case, Fidelity is an intermediary for the Government. The Spongs
       applied for a flood insurance policy that was part of a federal program, with the
       understanding that covered claims would be paid with federal funds. The Coastal
       Barrier Resources Act provides that federal flood insurance cannot be issued for
       property in the CBRS. Federal regulations are also clear on this point. Under the
       rationale of Merrill and Heckler, the Spongs cannot claim ignorance of the
       statutes and regulations as an excuse for relying on Fidelity's issuance of a policy
       as a determination or representation that their property was not located in the
       CBRS.

Spong, 787 F.3d at 309 (footnotes omitted).          The Fifth Circuit further noted that it was

incumbent on the Spongs (not the WYO Program Carrier, which was acting as a representative

of the U.S. Government) to ascertain whether their property was eligible for SFIP coverage:

       The Spongs were seeking coverage that was to be provided from public funds. It
       was incumbent upon the Spongs to determine whether their property was eligible
       for a SFIP. In determining whether the property was within the CBRS and
       therefore eligible for a federal flood insurance policy, Fidelity was acting as the
       representative of the Government, not the Spongs. The Spongs could not
       reasonably rely on Fidelity to make that determination for them.

Id., at 309-10 (emphasis added). The Fifth Circuit acknowledged “the difficult position in which

the Spongs find themselves.” Id. at 311. “However, [the Spongs] sought to obtain a federal

insurance policy on property that, under federal law, is uninsurable.” Id. The Fifth Circuit

therefore concluded that “the issuance of a policy by Fidelity was not a representation on which


                                              -14-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 15 of 21



the Spongs could rely” as a matter of law. Id. at 312; see also Lobeck, 2017 WL 923387, at *1

(similarly concluding that insured under SFIPs could not have reasonably relied on alleged

misrepresentations by WYO Program Carriers that her property was insurable, because plaintiff

was “insured by the federal government through the NFIP”, flood insurers “were acting as

government agents”, and plaintiff “was charged with the constructive knowledge that her

property was located” in the CBRS thereby rendering it ineligible for federally funded flood

insurance).

       Here, by comparison, the Peltiers sought to obtain a federal insurance policy on property

that (as alleged) was not located in a “preferred flood zone.” As in Spong, it was incumbent on

the Peltiers (not Wright National, which was acting as a representative of the U.S. Government)

to ascertain whether the property was in a “preferred” or “non-preferred” flood zone. As in

Spong, the issuance of the SFIP by Wright National for a premium that was rated based on the

location of the property was not a representation on which the Peltiers could reasonably rely as a

matter of law. And the plain language of the SFIP—of which Plaintiffs are presumed to have

knowledge as a matter of law—obligated the Plaintiffs (not Wright National) to obtain and

furnish accurate information and statements about the property to be used to determine the

eligibility of the risk, the kind of policy to be issued, and the correct premium payment.

       Moreover, as noted above “[i]n federal court, claims under the Texas Deceptive Trade

Practices Act are subject to the heightened pleading requirements of Federal Rule of Civil

Procedure 9(b).” Lopez, 197 F.Supp.3d at 952. “At a minimum, Rule 9(b) requires allegations

of the particulars of time, place, and contents of the false representations, as well as the identity

of the person making the misrepresentation and what he obtained thereby.” Id. “In other words,



                                                -15-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 16 of 21



a plaintiff must plead the ‘who, what, when, where, and how’ of the fraud.” Id. Plaintiffs’

Original Petition falls woefully short of satisfying Rule 9(b)’s heightened pleading requirements,

and plainly fails to allege the time, place, and contents of any false representations by Wright

National; or the identity of the person making the misrepresentation and what he obtained

thereby; 7 or the “who, what, when, where, and how” of any false, misleading, or deceptive act,

or of any unconscionable action or course of action attributable to Wright National. 8

       In sum, Plaintiffs’ Deceptive Trade Practices claim should be dismissed for failure to

state a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and for failure to

satisfy the heightened pleading requirements of Rule 9(b) of the Federal Rules of Civil

Procedure.



    3. Plaintiffs’ Original Petition Fails To State An Actionable Claim Against Wright
       National Flood Insurance Company For Negligent Misrepresentation.


7
  The Plaintiffs allege in a vague, sweeping manner that they acted in reliance on “the price
quotation and other representations of SMI and/or LERETA and/or Wright[.]” (Plaintiffs’
Original Petition, ¶ 13). Rather than allege and distinguish any specific conduct of or
representations by each defendant – SMI, LERETA and Wright National – Plaintiffs merely
lump all three defendants together and assert a boilerplate, formulaic claim against all
defendants, which plainly fails to state a plausible claim under Rule 12(b)(6) or satisfy the
heightened pleading requirements of Rule 9(b). See Spring St. Apts Waco, 2017 WL 1289036, at
*5 (“In sum, Plaintiff's sweeping allegations as to all ‘Defendants’ fail to allege and distinguish
specific conduct against Crawford, the insurance adjuster, from the insurer. Because Plaintiff
fails to allege specific actionable conduct by the adjuster, distinguishable from the claims against
the insurer, it fails to state a claim upon which relief can be granted.”).
8
  “To prove an unconscionable action or course of action, a plaintiff must show that the
defendant took advantage of his lack of knowledge and that the resulting unfairness was
glaringly noticeable, flagrant, complete and unmitigated.” Brittan, 313 F.3d at 907 (citing
Bradford v. Vento, 48 S.W.3d 749, 760 (Tex. 2001)). “[P]roving unconscionability in a TDTPA
case is difficult.” Strauss v. Ford Motor Co., 439 F.Supp.2d 680, 687–88 (N.D. Tex. 2006).
Plaintiffs’ Original Petition merely alleges in a conclusory fashion that Defendants engaged in
“unconscionable action or course of action.” However, the Petition is devoid of any facts to
support such a formulaic recitation as to Wright National and plainly fails to allege a plausible
claim that Wright National engaged in any “unconscionable action or course of action.”
                                                  -16-
      Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 17 of 21




       Plaintiffs’ Original Petition also should be dismissed because it fails to state an actionable

negligent misrepresentation claim against Wright National, and fails to satisfy Rule 9(b)’s

heightened pleading requirements.

       “Under Texas law, a claimant alleging negligent misrepresentation must show the

following: (1) the representation is made by a defendant in the course of his business, or in a

transaction in which the defendant has a pecuniary interest; (2) the defendant supplies ‘false

information’ for the guidance of others in their business; (3) the defendant did not exercise

reasonable care or competence in obtaining or communicating the information; and (4) the

plaintiff suffers a pecuniary loss by justifiably relying on the representation.” Spring St. Apts

Waco, 2017 WL 1289036, at *11 (citing Ellis v. Bank of N.Y. Mellon Tr. Co., No. 4:11–CV–

049, 2012 WL 359673, at *3 (E.D. Tex. Feb. 2, 2012); Fed. Land Bank Ass’n v. Sloane, 825

S.W.2d 439, 442 (Tex. 1991)); see also Physicians ACO, LLC v. Computer Scis. Corp., No.

4:16-CV-1293, 2017 WL 661516, at *3 (S.D. Tex. Feb. 16, 2017); Nelson, 2016 WL 7324284, at

*6.

       As noted above, Rule 9(b) requires a plaintiff to plead a claim for negligent

misrepresentation with particularity.    Bald assertions, conclusory allegations and formulaic

recitations of the claim (such as those contained in Plaintiffs’ Original Petition) are insufficient

to satisfy the plausibility standard under Iqbal and Twombly, let alone the more stringent

pleading requirements of Rule 9(b). As stated by one District Court:

       Other than generically identifying the statements made, Plaintiffs provided no
       facts to support the allegations. Plaintiffs did not specify who made the
       statements, when and where they were made, or why they were fraudulent. These
       allegations cannot survive Rule 9(b).



                                               -17-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 18 of 21



           Plaintiffs' pleading problems run deeper, though, because the allegations subject
           to Rule 9(b), as well as the alleged negligent misrepresentations concerning
           Defendant's administration of the loan and insurance coverage, fail to even satisfy
           the Rule 12(b)(6) pleading standard. Plaintiffs made the bald assertion as to both
           the fraud and negligent-misrepresentation causes of action that Plaintiffs relied on
           the alleged representations to their harm. They did not indicate what actions they
           took in reliance on each particular statement or how they were harmed. Their
           allegations are insufficient, not only in failing to demonstrate actual reliance, but
           also in failing to demonstrate justifiable reliance. See Grant Thorton LLP v.
           Prospect High Income Fund, 314 S.W.3d 913, 923 (Tex. 2010) (“Both fraud and
           negligent misrepresentation require that the plaintiff show actual and justifiable
           reliance.”). In other words, Plaintiffs provided nothing more than “a formulaic
           recitation” of the reliance and damage elements of the fraud and negligent-
           misrepresentation claims. See Twombly, 550 U.S. at 555.

Nelson, 2016 WL 7324284, at *7; see also McKinney Square Props. No. 1 Ltd. v. Seneca Ins.

Co., Inc., No. 3:16-CV-00956-M, 2017 WL 958608, at *3 (N.D. Tex. Mar. 13, 2017) (“Plaintiff

does not dispute that the First Amended Complaint fails to identify any specific statements made

by Defendant or one of its agents, or explain how the allegedly false statements were negligently

made. Plaintiff also does not dispute that its First Amended Complaint fails to identify any

specific agent who made an alleged misrepresentation. Plaintiff only generally alleges that

Defendant misrepresented the existence of coverage under the insurance policy at issue. … This

allegation is not sufficient to satisfy the time, place, contents, and identity standard of Rule

9(b).”).

           Plaintiffs’ Original Petition fails to plausibly allege a representation made by Wright

National in the course of its business, or in a transaction in which Wright National had a

pecuniary interest; that Wright National supplied false information for the guidance of others in

their business; that Wright National did not exercise reasonable care or competence in obtaining

or communicating the information; and that the Peltiers suffered a pecuniary loss by justifiably

relying on the representation.


                                                   -18-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 19 of 21



       Indeed, for the same reasons discussed above with respect to the Plaintiffs’ Deceptive

Trade Practices claim, which are incorporated by reference, the negligent misrepresentation

claim fails to plausibly allege that the Peltiers suffered any pecuniary loss as a result of their

justifiable reliance on any misrepresentation by Wright National. See Spong, 787 F.3d at 312

(holding that the issuance of SFIP by WYO Company was not a representation on which the

plaintiffs could rely as a matter of law); Lobeck, 2017 WL 923387, at *1 (insured under SFIPs

could not have reasonably relied on alleged misrepresentations by WYO Program Carriers that

her property was insurable). 9

       And    similar   to   the   Deceptive   Trade    Practices   claim,   Plaintiffs’   negligent

misrepresentation claim falls far short of satisfying Rule 9(b)’s heightened pleading

requirements, and plainly fails to allege with specificity and particularity the time, place, and

contents of any false representation by Wright National; the identity of the person making the

misrepresentation and what he obtained thereby; or the “who, what, when, where, and how” of

any false information or misrepresentations attributable to Wright National.

       In sum, Plaintiffs’ negligent misrepresentation claim should be dismissed for failure to

state a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and for failure to




9
  Moreover, insofar as Plaintiffs' purported state law tort claims (including the negligent
misrepresentation claim) allege only an economic loss arising out of the SFIP between Plaintiffs
and Wright National, these claims are barred by Texas’ economic loss rule, which provides
“when a plaintiff alleges only an economic loss arising out of a contractual relationship between
the parties, the plaintiff is precluded from proceeding under a [tort] cause of action[.]” Drake v.
Bank of Am. Corp., No. CV H-15-1639, 2016 WL 6909287, at *5–6 (S.D. Tex. Mar. 9, 2016)
(citing Sanghera v. Wells Fargo Bank, N.A., 2012 WL 555155 at *5 (N.D. Tex. 2012); Hayes v.
Bank of Am., N.A., No. 4:13–CV–760–A, 2014 WL 308129, at *5 (N.D. Tex. Jan. 27,
2014)(“because plaintiff's tort claims for fraud and negligent misrepresentation “flow solely from
the note and deed of trust,” they are barred by the economic loss rule and must be dismissed”)).
                                                -19-
     Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 20 of 21



satisfy the heightened pleading requirements of Rule 9(b) of the Federal Rules of Civil

Procedure.

                             III. Conclusion and Prayer for Relief

       WHEREFORE, the premises considered, Defendant Wright National Flood Insurance

Company prays that this Honorable Court grant Wright National’s Motion to Dismiss pursuant to

Fed. R. Civ. P. 9(b) and 12(b)(6), and dismiss this action with prejudice.




                                               -20-
    Case 3:17-cv-00202 Document 6 Filed in TXSD on 06/29/17 Page 21 of 21



Dated: June 29, 2017                     Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        I hereby certify that on June 29, 2017, a true copy of the foregoing MOTION TO
DISMISS AND SUPPORTING MEMROANDUM OF LAW has been served upon all parties or
their attorneys contemporaneously with or before the filing of this pleading, in a manner
authorized by Federal Rule of Civil Procedure 5(b)(1), using this Court’ CM/ECF system.

                                         /s/ Bradley K. Jones
                                         Bradley K. Jones




                                          -21-
